Case 1:23-cv-00106-WES-PAS            Document 1        Filed 03/13/23      Page 1 of 11 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

   MICHELLE SHULTZ, individually and on                  Case No.
   behalf of all others similarly situated,
                                                       CLASS ACTION
                   Plaintiff,
                                                       JURY TRIAL DEMANDED
   v.

   EMBRACE HOME LOANS, INC.

                   Defendant.



             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Michelle Shultz (“Plaintiff” or “Ms. Shultz”) brings this Class Action Complaint

 and Demand for Jury Trial against Defendant Embrace Home Loans, Inc. (“Defendant” or

 “Embrace Home Loans”) and alleges as follows:

        1.      Telemarketing calls are intrusive. A great many people object to these calls, which

 interfere with their lives, tie up their phone lines, and cause confusion and disruption on phone

 records. Faced with growing public criticism of abusive telephone marketing practices, Congress

 enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105 Stat. 2394

 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response to Americans

 ‘outraged over the proliferation of intrusive, nuisance calls to their homes from telemarketers’ id. §

 2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights, public safety interests,

 and commercial freedoms’ id. § 2(9).

        2.      “The law opted for a consumer-driven process that would allow objecting

 individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

 was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

 government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry
                                                   1
Case 1:23-cv-00106-WES-PAS            Document 1        Filed 03/13/23       Page 2 of 11 PageID #: 2




 stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

 telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

 solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an abusive

 telemarketing act or practice and a violation of this Rule for a telemarketer to . . . initiat[e] any

 outbound telephone call to a person when . . . [t]hat person’s telephone number is on the “do-not-

 call” registry, maintained by the Commission.’)…Private suits can seek either monetary or

 injunctive relief. Id…This private cause of action is a straightforward provision designed to

 achieve a straightforward result. Congress enacted the law to protect against invasions of privacy

 that were harming people. The law empowers each person to protect his own personal rights.

 Violations of the law are clear, as is the remedy. Put simply, the TCPA affords relief to those

 persons who, despite efforts to avoid it, have suffered an intrusion upon their domestic peace.”

 Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

        3.       The Plaintiff bring this action to enforce the consumer-privacy provisions of the

 TCPA alleging that Embrace Home Loans violated the TCPA by making telemarketing calls to

 Plaintiff and other putative class members listed on the National Do Not Call Registry without

 their written consent as well as calling people who had previously asked to no longer receive calls.

                                              PARTIES

        4.       Plaintiff Michelle Shultz is an individual.

        5.       Defendant Embrace Home Loans, Inc. is a corporation with its headquarters in

 Rhode Island.

                                  JURISDICTION AND VENUE

        6.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 47

 U.S.C. § 227 et seq.



                                                   2
Case 1:23-cv-00106-WES-PAS             Document 1      Filed 03/13/23       Page 3 of 11 PageID #: 3




        7.      This Court has specific personal jurisdiction over Embrace Home Loans because

 the company resides in this District.

        8.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because the telephone calls at

 issue were sent from this District.

                                          BACKGROUND

 A.     The TCPA Prohibits Calls to Numbers on the National Do Not Call Registry.

        9.      The TCPA also prohibits making multiple telemarketing calls to a residential

 telephone number that has previously been registered on the National Do Not Call Registry. See

 47 U.S.C. § 227(c)(5).

        10.     The National Do Not Call Registry allows consumers to register their telephone

 numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

 See 47 C.F.R. § 64.1200(c)(2).

        11.     A listing on the National Do Not Call Registry “must be honored indefinitely, or

 until the registration is cancelled by the consumer or the telephone number is removed by the

 database administrator.” Id.

        12.     The TCPA and implementing regulations prohibit the initiation of telephone

 solicitations to residential telephone subscribers to the Registry and provide a private right of

 action against any entity that makes those calls, or “on whose behalf” such calls are promoted. 47

 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).


 B.     The TCPA requires entities to have sufficient policies in place to prevent
        unwanted calls before making telemarketing calls.

        13.     The TCPA specifically required the Federal Communication Commission

 (“FCC”) to “initiate a rulemaking proceeding concerning the need to protect residential



                                                   3
Case 1:23-cv-00106-WES-PAS            Document 1       Filed 03/13/23      Page 4 of 11 PageID #: 4




 telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

 object.” 47 U.S.C. § 227(c)(1).

        14.     The FCC was instructed to “compare and evaluate alternative methods and

 procedures (including the use of . . . company-specific ‘do not call systems . . .)” and “develop

 proposed regulations to implement the methods and procedures that the Commission determines

 are most effective and efficient to accomplish purposes of this section.” Id. at (c)(1)(A), (E).

        15.     Pursuant to this statutory mandate, the FCC established company-specific “do not

 call” rules. In the Matter of Rules and Regulations Implementing the Telephone Consumer

 Protection Act of 1991, 7 F.C.C. Rcd. 8752 (Oct. 16, 1992) (“TCPA Implementation Order”).

        16.     These regulations are codified at 47 C.F.R. §§ 64.1200(d)(1)-(7).

        17.     Specifically, these regulations require a company to keep a written policy,

 available upon demand, for maintaining a do not call list, train personnel engaged in

 telemarketing on the existence and use of its internal do not call list, and record and honor “do

 not call” requests for no less than five years from the time the request is made. 47 C.F.R. §§

 64.1200(d)(1, 2, 3, 6).

        18.     This includes the requirement that “[a] person or entity making a call for

 telemarketing purposes must provide the called party with the name of the individual caller, the

 name of the person or entity on whose behalf the call is being made, and a telephone number or

 address at which the person or entity can be contacted.” 47 C.F.R. § 64.1200(d)(4).

                                   FACTUAL ALLEGATIONS

        19.     The Plaintiff is, and at all times mentioned herein was, a “person” as defined by

 47 U.S.C. § 153(39).

        20.     Plaintiff Shultz’s telephone number, (925) XXX-8352, is a non-commercial
 telephone number that is used primarily for residential purposes.

                                                   4
Case 1:23-cv-00106-WES-PAS            Document 1       Filed 03/13/23      Page 5 of 11 PageID #: 5




        21.       Plaintiff Shultz’s telephone number, (925) XXX-8352, is used for personal

 residential purposes.

        22.       Plaintiff Shultz has never been an Embrace Home Loans customer and never

 consented to receive calls from Embrace Home Loans.

        23.       Despite this, the Plaintiff received texts and calls from Embrace Home Loans on

 February 2 and 3, 2023.

        24.       The text messages are below:




        25.       As indicated above, the Plaintiff had asked that she no longer receive contact from

 the Defendant.




                                                   5
Case 1:23-cv-00106-WES-PAS            Document 1        Filed 03/13/23      Page 6 of 11 PageID #: 6




         26.     Despite that, she received two telemarketing calls from the Defendant on

 February 3, 2023 even after she had received a text confirmation that there would be no more

 contact.

         27.     The calls that that Plaintiff received included a scripted solicitation from the

 telemarketer.

         28.     The calls were inquiring about the Plaintiff’s desire for a mortgage or to refinance

 her mortgage.

         29.     The scripted pitch was designed to elicit information to determine if the call

 recipient qualifies for the service of the Defendant attempting to sell their services.

         30.     Indeed, the scripted solicitation was non-personalized and offered both a

 mortgage and a refinance for a mortgage.

         31.     Plaintiff and other individuals who received these telemarketing calls and

 telephone solicitation calls suffered an invasion of privacy and were harassed by the conduct of

 Defendant.

                                CLASS ACTION ALLEGATIONS
         32.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

 fully stated herein.

         33.     Plaintiff brings this action on behalf of themselves and the following classes (the

 “Classes”) pursuant to Federal Rule of Civil Procedure 23.
         34.     Plaintiff proposes the following Class definitions, subject to amendment as

 appropriate:

                 National Do Not Call Registry Class: All persons within the
                 United States: (1) whose residential telephone numbers were on the
                 National Do Not Call Registry for at least 31 days; (2) but who
                 received more than one telephone solicitation call from Defendant
                 or a third party acting on Defendant’s behalf; (3) within a 12-month
                 period; (4) within the four years prior to the filing of the Complaint.

                 Internal Do Not Call Class: All persons within the United States
                 to whom: (1) Defendant (or a third-party acting on behalf of

                                                   6
Case 1:23-cv-00106-WES-PAS            Document 1        Filed 03/13/23       Page 7 of 11 PageID #: 7




                 Defendant) placed (2) two or more telemarketing calls in a 12-month
                 period, (3) who were not current customers of the Defendant at the
                 time of the call, (4) who had previously asked for the calls to stop
                 and (5) within the four years prior to the filing of the Complaint.

         35.     Plaintiff is a member of and will fairly and adequately represent and protect the

 interests of the classes.

         36.     Excluded from the Classes are counsel, Defendant, and any entities in which

 Defendant have a controlling interest, the Defendant’s agents and employees, any judge to whom

 this action is assigned, and any member of such judge’s staff and immediate family.

         37.     Plaintiff and all members of the Classes have been harmed by the acts of Defendant,

 including, but not limited to, the invasion of their privacy, annoyance, waste of time, the use of

 their telephone power and network bandwidth, and the intrusion on their telephone that occupied

 it from receiving legitimate communications.

         38.     This Class Action Complaint seeks injunctive relief and money damages.

         39.     The Classes, as defined above, are identifiable through Defendant’s dialer records,

 other phone records, and phone number databases.

         40.     Plaintiff does not know the exact number of members in the Classes, but Plaintiff

 reasonably believes Class members number, at minimum, in the hundreds.

         41.     The joinder of all Class members is impracticable due to the size and relatively

 modest value of each individual claim.

         42.     Additionally, the disposition of the claims in a class action will provide substantial

 benefit to the parties and the Court in avoiding a multiplicity of identical suits.

         43.     There are well defined, nearly identical, questions of law and fact affecting all

 parties. The questions of law and fact, referred to above, involving the class claims predominate

 over questions that may affect individual Class members.


                                                   7
Case 1:23-cv-00106-WES-PAS           Document 1        Filed 03/13/23      Page 8 of 11 PageID #: 8




        44.     There are numerous questions of law and fact common to Plaintiff and to the

 proposed Classes, including, but not limited to, the following:

                a. Whether Defendant made multiple calls to Plaintiff and members of the

                    National Do Not Call Registry Class;

                b. whether Defendant recorded or honored “do not call” requests of Plaintiff and

                    members of the Internal DNC Class;

                c. Whether Defendant’s conduct constitutes a violation of the TCPA; and

                d. Whether members of the Classes are entitled to treble damages based on the

                    willfulness of Defendant’s conduct.

        45.     Further, Plaintiff will fairly and adequately represent and protect the interests of

 the Classes. Plaintiff have no interests which are antagonistic to any member of the Classes.

        46.     Plaintiff has retained counsel with substantial experience in prosecuting complex

 litigation and class actions, and especially TCPA class actions. Plaintiff and her counsel are

 committed to vigorously prosecuting this action on behalf of the other members of the Classes,

 and have the financial resources to do so.

        47.     Common questions of law and fact predominate over questions affecting only

 individual Class members, and a class action is the superior method for fair and efficient

 adjudication of the controversy. The only individual question concerns identification of Class

 members, which will be ascertainable from records maintained by Defendant and/or their agents.

        48.     The likelihood that individual members of the Classes will prosecute separate

 actions is remote due to the time and expense necessary to prosecute an individual case.

                                 FIRST CAUSE OF ACTION
                     Violation of the Telephone Consumer Protection Act
   (47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c) on behalf of Plaintiff and the National Do
                                    Not Call Registry Class)

                                                  8
Case 1:23-cv-00106-WES-PAS             Document 1        Filed 03/13/23      Page 9 of 11 PageID #: 9




            49.   Plaintiff incorporates the allegations from all previous paragraphs as if fully set

 forth herein.

            50.   The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

 other persons or entities acting on Defendant’s behalf constitute numerous and multiple

 violations of the TCPA, 47 U.S.C. § 227. by making telemarketing calls, except for emergency

 purposes, to Plaintiff and members of the National Do Not Call Registry Class despite their

 numbers being on the National Do Not Call Registry.

            51.   Defendant’s violations were negligent, willful, or knowing.

            52.   As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

 entities acting on Defendant’s behalf, violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

 members of the National Do Not Call Registry Class are entitled to an award of up to $500 and

 in damages for each and every call made and up to $1,500 in damages if the calls are found to be

 willful.

            53.   Plaintiff and the members of the National Do Not Call Registry Class are also

 entitled to and do seek injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or

 other persons or entities acting on Defendant’s behalf from making telemarketing calls to

 telephone numbers registered on the National Do Not Call Registry, except for emergency

 purposes, in the future.

                               SECOND CAUSE OF ACTION
                     Violation of the Telephone Consumer Protection Act
   (47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c) on behalf of Plaintiff and the Internal Do
                                    Not Call Registry Class)
            54.   Plaintiff incorporates the allegations from all previous paragraphs as if fully set

 forth herein.



                                                    9
Case 1:23-cv-00106-WES-PAS               Document 1    Filed 03/13/23      Page 10 of 11 PageID #:
                                                 10



        55.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

 other persons or entities acting on Defendant’s behalf constitute numerous and multiple

 violations of the TCPA, 47 U.S.C. § 227. by making telemarketing calls, except for emergency

 purposes, to Plaintiff and members of the Internal l Do Not Call Class despite previously

 requesting that such calls stop.

        56.     Defendant’s violations were negligent, willful, or knowing.

        57.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

 entities acting on Defendant’s behalf, violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

 members of the Internal Do Not Call Class are entitled to an award of up to $500 and in damages

 for each and every call made and up to $1,500 in damages if the calls are found to be willful.


                                    I. PRAYER FOR RELIEF
        WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

 following relief:

        A.      Injunctive relief prohibiting Defendant from calling telephone numbers

 advertising their goods or services, except for emergency purposes, to any residential number on

 the National Do Not Call Registry in the future;

        B.      That the Court enter a judgment awarding Plaintiff and all Class members

 statutory damages of $500 for each violation of the TCPA and $1,500 for each knowing or

 willful violation; and

        C.      An order certifying this action to be a proper class action pursuant to Federal Rule

 of Civil Procedure 23, establishing Classes the Court deems appropriate, finding that Plaintiff is

 a proper representative of the Classes, and appointing the lawyers and law firms representing

 Plaintiff as counsel for the Classes;


                                                 10
Case 1:23-cv-00106-WES-PAS          Document 1          Filed 03/13/23    Page 11 of 11 PageID #:
                                            11



       D.     Such other relief as the Court deems just and proper.


                             II. DEMAND FOR JURY TRIAL
       Plaintiff hereby demands a trial by jury.




       RESPECTFULLY SUBMITTED AND DATED this 13th day of March, 2023.




                                                              Respectfully Submitted,


                                                              /s/ Vincent A. Indeglia, Esq.
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                                                   11
